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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


_____________________________________
                                                      )
In re:                                                )
                                                      )                           Chapter 13
         Corey Ray Dotson,                            )
         and                                          )
         Annie B. Dotson,                             )
         fka Annie B. Smith,                          )
                                                      )
                Debtors.                              )             Bky. Case No. 19-43084 KHS
                                                      )             Adv. Case No. 19-0____ KHS
_____________________________________                 )
                                                      )
Minnesota Department of Employment                    )
and Economic Development,                             )
                                                      )
                Plaintiff,                            )
                                                      )      COMPLAINT TO DETERMINE
vs.                                                   )     DISCHARGEABILITY OF DEBT
                                                      )
Corey Ray Dotson,                                     )
                                                      )
            Defendant.                                )
_____________________________________                 )


         The plaintiff, Minnesota Department of Employment and Economic Development, for the

purpose of having this court determine the dischargeability of the debt due and owing to the

plaintiff by the defendant, hereby states and alleges as follows:

                                            PARTIES

         1.     The plaintiff is an agency of the State of Minnesota established pursuant to

Minnesota Statutes Chapter 268 (2018) and is responsible for the application and monitoring of

Minnesota’s Unemployment Insurance Law, including Minn. Stat. § 268.18 (2018).
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       2.       The defendant, Corey Ray Dotson, is a debtor in this Chapter 13 bankruptcy who

has been overpaid unemployment compensation benefits under Minn. Stat. Ch. 268 (2018). The

defendant is currently, and at all relevant times has been, a resident of the State of Minnesota.

                                         JURISDICTION

       3.       This case arises under 11 U.S.C. § 523(a)(2)(A), 11 U.S.C. § 523(a)(2)(B), and

11 U.S.C. § 523(a)(7).

       4.       This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I).

       5.       This court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§ 1334.

                  COMPLAINT TO DETERMINE DISCHARGEABILITY

       6.       On May 19, 2015, the defendant filed a Chapter 7 bankruptcy petition in

Bankruptcy Case No. 15-41808.

          7.    On June 2, 2015, the plaintiff filed an adversary complaint to determine

dischargeability of debt in Bankruptcy Case No. 15-41808. The court docketed the plaintiff’s

adversary complaint as Adversary Case No. 15-04114.

          8.    On July 1, 2015, the court issued an Order for Judgment and Judgment in

Adversary Case No. 15-04114 ordering that the defendant’s debt to the plaintiff is excepted from

the defendant’s discharge in the amount of $15,784.40. The default judgment concluded the

adversary proceeding.

          9.    On October 11, 2019, the defendant filed a Chapter 13 bankruptcy petition in

Bankruptcy Case No. 19-43084.

          10.   The adversary complaint to determine dischargeability of debt in Adversary Case

No. 15-04114, filed on June 2, 2015, is attached as Exhibit 1 and the plaintiff repeats and




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incorporates by reference, the allegations contained in paragraphs 6 through 28. Exhibit 1

contains its own exhibits that are marked 1-A through 1-O.

       11.     David R. Possin, an unemployment insurance program specialist 2 with the

plaintiff, attests that he has reviewed Exhibit 1 and 3 and all of the documents attached to the

plaintiff’s complaint and that they are true and correct copies of the official records and

documents in the defendant’s unemployment compensation benefit account file. A copy of the

Supplemental Affidavit of David R. Possin is attached as Exhibit 2.

       12.     Minn. Stat. § 268.18, subd. 2b (2016) requires that the plaintiff assess interest on

any unemployment benefits fraudulently obtained, and on any penalty amounts assessed under

Minn. Stat. § 268.18, subd. 2(a) (2016) at the rate of 1 percent per month on any unpaid balance,

beginning 30 calendar days after the date of the Determination of Overpayment and Fraud

Determination. Prior to July 1, 2015, Minn. Stat. § 268.18, subd. 2b (2014) required that the

interest be assessed at a rate of 1-1/2 percent per month.

       13.     The plaintiff maintains information regarding the defendant’s overpayments and

the defendant’s repayments towards the overpayment balances.          Copies of the defendant’s

Unemployment Compensation Overpayment Histories are attached as Exhibit 3.

       14.     From 30 calendar days or more after the June 3, 2013, service of the Order, and

May 1, 2013, and June 10, 2013, service of the Determinations of Ineligibility and

Determinations of Ineligibility: Fraud Determinations, upon the defendant on the unemployment

insurance account for which the defendant applied on or around July 29, 2012, to May 19, 2015,

the date of the Defendant’s filing of Bankruptcy Case No. 15-41808 , interest has accrued on the

fraud overpayments and penalty totaling $4,158.00. See Exhibit 1 (Exhibit 1-O).




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        15.     The defendant’s knowing misrepresentations, misstatements of material facts, and

failing to disclose that he was employed during the periods that he claimed and received

unemployment compensation benefits, constitute fraud under Minn. Stat. § 268.18, subd. 2

(2016), and the defendant is therefore liable to the plaintiff for repayment of $9,777.00

wrongfully received by the defendant, plus 40 percent statutory penalties in the amount of

$2,442.40, plus assessed interest to date in the amount of $4,158.00, less credits, payments or

offsets to the indebtedness in the amount of $2,617.94, plus court fees in the amount of $700.00,

for a total of $14,459.46.

        16.     The plaintiff may add the cost of any court fees to the debt if the bankruptcy court

does not discharge the debt pursuant to Minn. Stat. § 268.18, subd. 4a(b) (2018).

        17.     To date, the plaintiff has incurred court fees in the amount of $700.00.

        18.     To date, credits, payments or offsets to the indebtedness in the amount of

$2,617.94 have been received.

        19.     Pursuant to FRBP 7008, the plaintiff consents to the court’s entry of judgment in

this action.

        WHEREFORE, the plaintiff requests an order from this court:

        a.      Finding the defendant is indebted to the plaintiff in the amount of Thirteen

Thousand Seven Hundred Fifty Nine and 46/100 Dollars ($13,759.46), plus the Seven Hundred

and 00/100 Dollars ($700.00) filing fees and entering judgment thereon against the defendant

and in favor of the plaintiff; and,

        b.      Finding the total amount of Fourteen Thousand Four Hundred Fifty Nine and

46/100 Dollars ($14,459.46) of the plaintiff’s claim against the defendant excepted from




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discharge pursuant to 11 U.S.C. § 523(a)(2)(A), 11 U.S.C. § 523(a)(2)(B) and 11 U.S.C.

§ 523(a)(7); and,

       c.      For such other and further relief as this court deems just and equitable.


Dated: December 10, 2019                         KEITH ELLISON
                                                 Attorney General
                                                 State of Minnesota

                                                 /e/Rory H. Foley
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